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                United States Court of Appeals
                            FOR T HE DISTRICT OF COLUMBIA CIRCUIT
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No. 19-5331                                                September Term, 2020
                                                                       1:19-cv-02379-KBJ
                                                   Filed On: July 13, 2021 [1906137]
Committee on the Judiciary of the United
States House of Representatives,

              Appellee

       v.

Donald F. McGahn, II,

              Appellant

                                        MANDATE

      In accordance with the order of July 13, 2021, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk




Link to the order filed July 13, 2021
